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UNITED STATES DISTRICT COURT 05 AUG l i pH
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WESTERN DISTRICT 0F TENNESSEE r./D §§ j:`;§§`KTOOCQUI
0RDER or PRoDcCTIoN

NO: 1:04-10006-01-'1`

USA v. SHAUN LYNN BONDURANT

A]) Prosequendum

FQR: RE-SENTENCING HEARING
TO: USM, Western District of TN

Warden, wEST TENNESSEE STATE PENITENTIARY
P. 0. BoX 1100, HENNING, TN 38041-1100

YOU ARE HEREBY COMMANDED to have the person of

#19343-076
sHAUN BcNDURANT lomate# 00354826 (rncc) g

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by you restrained of his/her liberty, as it is said, by Whatsoever names detained, together With the
day and cause of his being taken and detained, before the Honorable J ames D. Todd, U. S.
Distn`ct Court Judge, for the Western District of Tennessee, at the room of said Court, in the City

of Jackson, Tennessee, at 9: 15 a.m. on the 9th day of Sepfember , 20 05

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then and there to do, submit to, and receive Whatsoever the said Judge shall then and there
determine in that beha]f; and have you then and there this Writ; further, to hold him in federal

custody until disposition of this case and to produce him for such other appearances as this court

may direct
ENTERED THIs [ f DA¥ mapwa 2005'

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JAMES ODD
UNIT STATES DISTRICT IUDGE

Thts document entered on the docket sheet in compliance
with sure 55 ana/or az(b) irach on 75

Notice of Distribution

This notice confirms a copy of the document docketed as number 36 in
case 1:04-CR-10006 Was distributed by faX, mail, or direct printing on
August ll, 2005 to the parties listed.

 

 

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U.S. ATTORNEY'S OFFICE
109 S. Highland Ave.

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Honorable J ames Todd
US DISTRICT COURT

